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                 UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                           CHAPTER 13 PLAN (Individual Adjustment of Debts)

                         G       2nd    Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)

DEBTOR Mario Alberto Paniagua JOINT-DEBTOR:                                       CASE NO.: 15-30435-AJC
Last Four Digits of SS# 4520   Last Four Digits of SS#

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date,
Debtor(s) to pay to the trustee for the period of       60      months. In the event the trustee does not collect
the full 10%, any portion not collected will be paid to creditors pro-rata under the plan:
         A.        $    157.88      for months         1         to     60    ;
         B.        $                for months                   to           ;
         C.        $                for months                   to           ; in order to pay the following creditors:

Administrative:          Attorney's Fee - $ 3,500.00 +150.00 Costs=3,650.00 TOTAL PAID $ 1,000.00
                         Balance Due- $ 2,650.00 payable $ 132.50 /month (Months       1   to 20 )
Secured Creditors: [Retain Liens pursuant to 11 U.S.C. ‘1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
1.                                                       Arrearage on Petition Date $
Address:                                                     Arrears Payment        $           /month (Months               to        )
                                                             Regular Payment        $           /month (Months               to        )
Account No:

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU
PURSUANT TO BR 7004 and LR 3015-3.
     Secured Creditor            Description of       Interest    Plan Payments        Months of Payment         Total Plan Payments
                            Collateral and Value of     Rate
                                   Collateral




Priority Creditors: [as defined in 11 U.S.C. ‘507]

1. Internal Revenue Service                   Total Due $ 1,430.51
                                              Payable   $     9.59 /month (Months 1                        to      20 )
                                              Payable   $    30.97 /month (Months 21                        to     60 )

2. Miami Dade Expressway Authority Total Due $                    330.52
                                   Payable   $                      8.27 /month (Months             21      to      60 )

Unsecured Creditors:               Pay $ 102.85 month (Months 21                  to     60 )

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
Other Provisions Not Included Above: The debtor(s) is hereby advised that the chapter 13 trustee has requested that the
debtor(s) comply with 521(f) 1-4 on an annual basis during the pendency of this case. The debtor(s) hereby acknowledges
that the deadline for providing the Trustee with their filed tax returns is on or before May 15 of each year the case is pending
and that the debtor(s) shall provide the trustee with verification of their disposable income if their gross household income
increases by more than 3% over the previous year’s income. American Airlines FCU acct#0007 for 2015 Toyota 4Runner,
American Airlines FCU acct#0006 for 2011 Scion TC, American Airlines FCU acct#6333 (cross-collateral account),
American Airlines FCU acct#4483 (cross-collateral account) are being paid outside the chapter 13 plan.

                  /s
Debtor
Date:            1/4/2016
LF-31 (rev. 01/08/10)
